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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

MATTHEW ANDREW GARCES,                   §
                                         §
           Plaintiff,                    §
                                         §
v.                                       § CIVIL ACTION NO. SA-25-CV-00252-FB
                                         §
U.S. DEPARTMENT OF JUSTICE,              §
CIVIL RIGHTS DIVISION,                   §
                                         §
           Defendant.                    §




MATTHEW ANDREW GARCES,                   §
On Behalf of RAFAELA GUILLEN,            §
                                         §
                                         §
           Plaintiff,                    §
                                         §
v.                                       § CIVIL ACTION NO. SA-25-CV-00256-FB-RBF
                                         §
UNITED HEALTH CARE, and                  §
UNITED HEALTH GROUP,                     §
                                         §
           Defendants.                   §




MATTHEW ANDREW GARCES,                   §
                                         §
           Plaintiff,                    §
                                         §
v.                                       § CIVIL ACTION NO. SA-25-CV-00388-FB-HJB
                                         §
SAN ANTONIO POLICE DEPARTMENT,           §
ET AL.,                                  §
                                         §
           Defendants.                   §
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MATTHEW ANDREW GARCES,                       §
                                             §
              Plaintiff,                     §
                                             §
v.                                           § CIVIL ACTION NO. SA-25-CV-00578-FB-RBF
                                             §
NICK DOE, ET AL.,                            §
                                             §
              Defendants.                    §




MATTHEW ANDREW GARCES,                       §
                                             §
              Plaintiff,                     §
                                             §
v.                                           § CIVIL ACTION NO. SA-25-CV-00633-FB-HJB
                                             §
MARTHA HUERTA, and                           §
DANIEL HUERTA,                               §
                                             §
              Defendants.                    §
                                             §




MIGUEL CONTRERAS, JR., by and                §
Through his Medical Power of Attorney,       §
Matthew Andrew Garces, and                   §
MATTHEW ANDREW GARCES,                       §
                                             §
              Plaintiffs,                    §
                                             §
v.                                           § CIVIL ACTION NO. SA-25-CV-00634-FB-RBF
                                             §
CHRISTUS HEALTH, ET AL.,                     §
                                             §
              Defendants.                    §




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                                     ORDER OF RECUSAL

       Before the Court is the status of the above styled and numbered causes. Plaintiff Matthew

Andrew Garces has filed suit against the undersigned in the case styled Matthew Andrew Garces v. Fred

Biery, et al., Civil Action No. SA-25-cv-609-OLG-ESC. The undersigned therefore finds he must

recuse himself pursuant to 28 U.S.C. § 455.

       IT IS THEREFORE ORDERED that these cases be removed from the docket of the undersigned

and randomly assigned to another Judge. Any new cases filed by Mr. Garces shall be assigned to

another Judge.

       It is so ORDERED.

       SIGNED this 20th day of June, 2025.


                                       _________________________________________________
                                       FRED BIERY
                                       UNITED STATES DISTRICT JUDGE




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